      Case 18-70065-BHL-7                       Doc 32           Filed 05/16/18               EOD 05/16/18 16:33:16       Pg 1 of 1


                                             UNITED STATES BANKRUPTCY COURT
                                               FOR THE DISTRICT OF Southern Indiana

                                                              Minute Entry/Order
Hearing Information:
                         Debtor:     ELIZABETH A. INGALLS
                  Case Number:       18-70065-BHL-7                              Chapter: 7

          Date / Time / Room:        WEDNESDAY, MAY 16, 2018 01:30 PM EV 359

         Bankruptcy Judge:           BASIL H. LORCH
               Courtroom Clerk:
                Reporter / ECR:      N/A                                                                                             0.00


Matter:
              Hearing on U.S. Trustee's Motion to Dismiss Case or, in the Alternative, Convert Case to Chapter 13. [18]
              R / M #:   0/ 0
              VACATED: Continued by agreement of the parties. Hearing reset to 07/18/2018 at 1:30 PM.


Appearances:
        NONE




Proceedings:                                                                                                                  1.00

        VACATED: Continued by agreement of the parties. Hearing reset to 07/18/2018 at 1:30 PM.




IF COUNSEL HAS BEEN DIRECTED BY THE COURT TO SUBMIT AN ORDER BASED ON THE COURT'S RULING
OR THE PARTIES' AGREEMENT, THEN NO FURTHER NOTICE OR REMINDER WILL BE ISSUED. THE COURT
WILL NOT KEEP A CASE OPEN SOLELY BECAUSE THE ORDER WAS NOT SUBMITTED WITHIN THE TIME
PERIOD DIRECTED BY THE COURT. IN SUCH INSTANCE, A REOPENING FEE WILL APPLY.




Page 1 of 1                                                                                                               5/16/2018     3:30:50PM
